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 PEARSON, J.

                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


 UNITED STATES OF AMERICA,                        )
                                                  )     CASE NO. 1:15-CR-223-6
                Plaintiff,                        )
                                                  )
                v.                                )     JUDGE BENITA Y. PEARSON
                                                  )
 LIFELINE HOME HEALTH SERVICES,                   )
 LLC,                                             )
                                                  )     ORDER
                Defendant.



        This matter is before the Court upon Magistrate Judge Kathleen B. Burke’s Report and

 Recommendation (“R&R”) that the Court accept Defendant Lifeline Home Health Services,

 LLC’s (“Defendant”) plea of guilty and enter a finding of guilty against Defendant. ECF No. 95.

        On June 17, 2015, the Government filed an Indictment against Defendant alleging

 violations of 18 U.S.C. § 1349, 18 U.S.C. § 1347 and 2, and 18 U.S.C. § 1035 and 2, conspiracy

 to commit health care fraud, health care fraud and false statements relating to health care matters,

 respectively. ECF No. 1. Thereafter, Defendant, pro se through its Authorized Representative

 Abdulazis Warsame, notified the Court of Defendant’s intent to enter a plea of guilty. ECF No.

 75. The Court issued an order referring the matter to Magistrate Judge Burke for the purpose of

 receiving Defendant’s guilty plea. ECF No. 78.

        On June 2, 2016, Magistrate Judge Burke held a hearing during which Defendant

 consented to the order of referral (ECF No. 89) and entered a plea of guilty as to Counts 1, 2, 3,

 4, 5 and 6 of the Indictment. Magistrate Judge Burke received Defendant’s guilty plea and issued
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 a Report recommending that this Court accept Defendant Lifeline Home Health Services, LLC’s

 plea and enter a finding of guilty. ECF No. 95.

         The time limitation to file objections to the Magistrate Judge’s Report and

 Recommendation has expired and neither party has filed objections or requested an extension of

 time.

         Fed. R. Crim. P. 11(b) states:

         Before the court accepts a plea of guilty or nolo contendere, the defendant may be
         placed under oath, and the court must address the defendant personally in open
         court. During this address, the court must inform the defendant of, and determine
         that the defendant understands, the following: (A) the government’s right, in a
         prosecution for perjury or false statement, to use against the defendant any
         statement that the defendant gives under oath; (B) the right to plead not guilty, or
         having already so pleaded, to persist in that plea; (C) the right to a jury trial; (D)
         the right to be represented by counsel—and if necessary have the court appoint
         counsel—at trial and at every other stage of the proceeding; (E) the right at trial to
         confront and cross-examine adverse witnesses, to be protected from compelled
         self-incrimination, to testify and present evidence, and to compel the attendance of
         witnesses; (F) the defendant’s waiver of these trial rights if the court accepts a
         plea of guilty or nolo contendere; (G) the nature of each charge to which the
         defendant is pleading; (H) any maximum possible penalty, including
         imprisonment, fine, and term of supervised release; (I) any mandatory minimum
         penalty; (J) any applicable forfeiture; (K) the court’s authority to order restitution;
         (L) the court’s obligation to impose a special assessment; (M) in determining a
         sentence, the court’s obligation to calculate the applicable sentencing-guideline
         range and to consider that range, possible departures under the Sentencing
         Guidelines, and other sentencing factors under 18 U.S.C. §3553(a); and (N) the
         terms of any plea-agreement provision waiving the right to appeal or to
         collaterally attack the sentence.

         The undersigned has reviewed the transcript and the Magistrate Judge’s R&R and finds,

 that in her careful and thorough proceeding, Magistrate Judge Burke satisfied the requirements of

 Fed. R. Crim. P. 11 and the United States Constitution. Defendant’s Authorized Representative

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 Abdulazis Warsame was placed under oath and determined to be competent to enter a plea of

 guilty. Defendant was made aware of the charges and consequences of conviction and his rights

 and waiver thereof. Magistrate Judge Burke also correctly determined that Defendant had

 consented to proceed before the magistrate judge and tendered his plea of guilty knowingly,

 intelligently and voluntarily. Furthermore, the magistrate judge also correctly found that there

 was an adequate factual basis for the plea.

         Upon de novo review of the record, the Report and Recommendation is adopted.

 Therefore, Defendant Lifeline Home Health Services, LLC is adjudged guilty of Counts 1, 2, 3,

 4, 5 and 6 of the Indictment, conspiracy to commit health care fraud, health care fraud and false

 statements relating to health care matters, in violation 18 U.S.C. § 1349, 18 U.S.C. § 1347 and 2,

 and 18 U.S.C. § 1035 and 2, respectively.



         IT IS SO ORDERED.


        July 7, 2016                           s/ Benita Y. Pearson
 Date                                          Benita Y. Pearson
                                               United States District Judge




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